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      EXHIBIT 1
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  DATA CENTER INGENUITY MADE SIMPLE.                                                              NEO CLIENT PORTAL




    HOME             DEDICATED SERVERS                      CLOUD             COLOCATION   ENTERPRISE SOLUTIONS



    ABOUT



                                                      QUADRANET'S

                             TERMS OF SERVICE


  QuadraNet Terms of Service
    Last Modi ed 6/8/2016

    FOLLOWING ARE TERMS OF SERVICE WHICH IS A BINDING CONTRACT WITH CLIENT:

  1. Service Abuse
  a. No illegal use of any kind is permitted on sites or servers including, but not limited to, unauthorized storage or
  distribution of copyrighted so tware, trademark infringement, warez sites, violations of any State or Federal laws, and
  selling or distributing contraband.
  b. No internet abuse of any kind is allowed including, but not limited to, spamming, mass emailing programs, cross-
  posting unsolicited messages to online groups, posting obscene or in lammatory messages, threatening Internet
  users, mail bombing, and running packet sni fers or port scanners.

  2. Service Abuse Violation
  a. Should a Service Abuse violation occur, in addition to all other legal and equitable remedies, QuadraNet may
  terminate the account without notice and without any refunds. Client shall be responsible for any and all damages
  caused to QuadraNet. QuadraNet may charge client an amount equal to the cost associated with repairing any
  damages done.

  3. Data Loss and Backups
  a. Client is responsible and shall at all times maintain all its data on Clients own remote backup system separate from
  QuadraNet’s equipment or servers. Client acknowledges that access to the Internet may fail or be interrupted at any
  time; hardware is mechanical and prone to failure without warning. QuadraNet o fers backup services and, if so
  subscribed, backups are performed on a best-e fort basis, but in no event, with back up subscription or not, shall

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  QuadraNet be responsible to Client for any lost les, data, damages or information

  4. Server Management
  a. Server management occurs as a queued task. QuadraNet is not responsible for any loss or in any manner should a
  server be hacked, exploited, cracked, or in any way damaged by client or a 3rd party. QuadraNet reserves the right in
  its sole discretion to decline management services for any reason whatsoever.

  5. Technical Support
  a. If the client wishes to le a support ticket or to check on progress of an existing trouble ticket, they may dial 1-888-
  578-2372 and select option 1, log-in to the portal at https://neo.quadranet.com, or e-mail support@quadranet.com
  b. QuadraNet’s technical support team is ready to assist 24 hours a day, 7 days a week, 365 days a year.

  6. Payment Policy
  a. Certain services may require setup fees prior to activation, which client shall be made aware of by QuadraNet.
  b. Full payment is required before any QuadraNet hosting or other service is provided.
  c. QuadraNet accepts credit card payment (Visa, Master Card, Discover, or American Express), certi ed funds, wire
  transfers, PayPal (www.paypal.com), Alipay, Tencent WeChat Pay, or cryptocurrencies (Bitcoin, Litecoin, and
  Ethereum).
  d. Online credit card payments are authorized and assessed in real-time.
  e. Once an order is successfully submitted, the client is subject to QuadraNet’s refund policy.

  7. Additional Features
  a. Additional features can be added at any time at the client’s request and will be activated upon payment.
  b. The cost for additional features is non-refundable regardless of whether the service was used. The 7-day
  cancellation period outlined in Section 12 applies to all Additional Features that may be active on any given account.

  8. Renewal and Billing Schedule

  QuadraNet’s Billing and Renewal Schedules is subject to the following terms and conditions:

  a. All payments must be timely; that is, they must be received by QuadraNet on their due date. QuadraNet will send
  to client’s billing contact by email an invoice ten (10) days prior to the date the bill is due and therea ter one (1) day
  prior to the invoice due date. All payment must be made in U.S. Dollars.
  b. If payment is not received when due, Client shall be in default and QuadraNet, at its sole discretion, may suspend
  or terminate services without further notice.
  c. All or any portion of monies owed to QuadraNet that are not received when due shall incur a late charge of 1.5% of
  the amount owing, per month, or the maximum permitted by law, whichever is less, until payment is made.
  d. If services are suspended, client shall pay a minimum reactivation fee of $25.00.
  e. For clients on a month-to-month service, QuadraNet reserves the right to change pricing any time upon notice to
  client.
  f. If client’s account is paid by credit card, it is client’s responsibility to make sure the card is valid, so that QuadraNet
  can complete a charge. If the charge is not complete, QuadraNet is authorized to charge the account a ter the original
  processing date. It is client’s responsibility to notify QuadraNet of any change in credit card to be used for payment on
  client’s account.
  g. If client’s account is paid by check and the check is returned “Non-Su cient Funds,” client shall be charged a $35.00
  process and handling fee.
  h. It is client’s responsibility to promptly notify QuadraNet of any change in email address or contact person(s).

  9. Refund Policy
  a. All refunds are at the sole discretion of QuadraNet, including fees associated with primary services, additional


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  features, and any/all setup fees previous assessed.

  10. Cancellation
  a. QuadraNet reserves the right to terminate service at any time. If an account is terminated for a policy violation
  there will be no refund.
  b. Customers can cancel service pursuant to the terms of their contract by email or through the portal. Only
  authorized contacts/individuals can cancel an account. Unless client speci es a termination date, accounts will be
  terminated upon notice.
  c. Unless otherwise speci ed in the terms of Client’s contract and for all month-to-month services, cancellation notice
  must be received at least 7 days prior to scheduled service renewal date; furthermore, if service is cancelled with less
  than 7 days remaining before scheduled service renewal, the service will renew for 1 additional month automatically.
  d. Cancellation requests must be submitted via the QuadraNet management portal by selecting “Request Service
  Cancellation” from the le t navigation and submitting the cancellation form for the services being discontinued.
  e. Refund policies (Section 9) strictly apply to all cancelled accounts.
  f. If an account is cancelled due to non-payment, QuadraNet reserves the right to delete contents without notice and
  re-provision the server.
  g. Client accounts inactive for 30 or more days may be required to create a new account in order to have future
  services rendered.

  11. Indemni cation
  a. The client agrees to defend, indemnify, and hold harmless QuadraNet and all of its o cers, owners, employees,
  agents, and contractors from and against any and all liabilities of every nature or kind resulting from the services
  herein, including but not limited to, client’s defective products, personal injury or property damage caused by
  products or services sold or distributed from QuadraNet servers, any infringements on the rights of a third party and
  libel or defamation of a third party. Client also agrees to pay and indemnify QuadraNet for any legal fees, nes, levies,
  judgments, settlements, or charges.

  12. Disclaimer
  a. QuadraNet is not responsible for any damages to any client’s business. QuadraNet makes no warranties or
  guarantees of any kind, expressed or implied, for services provided. Use of QuadraNet’s service is at the client’s sole
  risk. Under no circumstances will QuadraNet be liable for any claims resulting from the use or inability to use
  QuadraNet’s services including, but not limited to, service interruptions, client errors, Internet connectivity problems,
  miscommunications, unauthorized access to QuadraNet servers, DNS caching, Internet bandwidth congestion,
  power failures, vandalism, or natural disasters.

  13. Policy Revisions
  a. QuadraNet reserves the right to revise its policies at any time.

  14. Attorney Fees
  a. In the event of a dispute arising out of this Agreement, the prevailing party shall be entitled to reasonable attorney
  fees and costs.

  15. California Law
  a. Any legal suit, action, or proceeding arising out of or relating to this Agreement shall be governed by the laws of the
  State of California. Venue and jurisdiction will be Los Angeles, California.

  16. Mutually Dra ted
  a. This Agreement has been reached by mutual consensus and may not be construed for or against any party in the
  dra ting and preparation of same. Each of the parties, by their signature to this Agreement, acknowledges that they
  have read and understood each of the provisions of this Agreement and enters into same knowingly, intelligently, and


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  voluntary.

  17. Assignment
  a. Client may not assign any right hereunder or delegate any obligation without the prior written consent of
  QuadraNet, and any purported assignment or delegation without QuadraNet’s consent is void.

  18. Binding Contract
  a. This Agreement shall binding upon the client hereto and their respective heirs, successors, or assigns.

  19. Arbitration
  a. Any controversy or claim arising out of or relating to this Agreement or the breach of any term hereof shall be
  resolved by binding arbitration conducted in the County of Los Angeles and administered by JAMS in accordance with
  their Commercial Arbitration Rules.
  b. The parties shall select the arbiter within fourteen (14) days of any party initiating the demand for arbitration. If
  they cannot agree on the arbiter, one shall be appointed by JAMS, and that appointment shall be binding upon both
  parties.
  c. Each party shall pay, when due, one-half of the fees for arbitration. Failure to make a timely payment of their share
  of the fees shall be a default against the non-paying party, and the paying party may proceed to prove up their case
  and obtain judgment from the arbiter.
  d. The arbitration shall be concluded within ninety (90) days of initiation of the arbitration, unless otherwise ordered
  for good cause. Thirty (30) days prior to the scheduled arbitration hearing, the parties shall exchange briefs, lists of
  witness, and all documents that they intend to use at the arbitration. No further discovery shall be allowed, unless
  ordered by the arbiter upon a showing of good cause and necessity.
  e. The arbiter’s decision shall be in writing, with ndings of fact and conclusions of law.
  f. Any award shall be nal and binding upon the parties hereto, and judgment may be entered thereon in any court
  having jurisdiction thereof.


  Data Breach Policy:
  Updated: 16 December 2018


    Policy
    QuadraNet Enterprises LLC and its a liates (collectively, “QuadraNet Enterprises LLC”) make every e fort to
    protect the con dentiality, integrity, and availability of the Con dential Information and Personal Data of
    employees, customers and vendors.

    QuadraNet Enterprises LLC will respond promptly to investigate, contain, and mitigate any security incident that
    can lead to a Data Breach. Notice of a Data Breach will be provided to a fected individuals and/or governmental
    agencies in accordance with applicable contractual and legal requirements.

    De nitions
    • Con dential Information includes all information of QuadraNet Enterprises LLC, its employees, and its existing
    and potential customers, not generally known to the public, in printed, electronic, or any other form or medium.
    • Personal Data includes any information related to an identi ed or identi able natural person. Personal Data
    includes, but is not limited to: names, addresses, email addresses, and phone numbers.
    • Data Breach is de ned as the unauthorized acquisition or access of unencrypted Con dential Information or
    Personal Data that compromises the con dentiality, integrity, or availability of that information. A Data Breach
    can occur not only virtually through computer networks but also physically through unauthorized access into

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    QuadraNet Enterprises LLC, locations or computers. A Data Breach can also include any breaches that a fect third-
    party vendors that provide services or hosting to QuadraNet Enterprises LLC.

    Incident response

    As part of the information security policy, QuadraNet Enterprises LLC maintains a Security Incident response plan
    that is based on guidelines from NIST ( 800-61 ).

    All employees are required to immediately notify the IT Department of any actual or suspected Data Breach –
    including events that a fect third-party vendors. The IT department will then follow the Security Incident
    Response Plan.

    Noti cation
    QuadraNet Enterprises LLC commits to a noti cation via email to a fected data controllers -customers/partners-,
    speci cally to the primary business contact registered upon contract signing, as soon as possible but no later than
    72 hours of reasonable suspicion of a Data Breach. If there is an operational impact, an update can also be seen on
    status.quadranet.com.




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   Upgrades                                                                                       Los Angeles Century
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   LiteSpeed Upgrades
                                      Atlanta Colocation                 CDN Services             Dallas Datacenter
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   Private Cloud
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   Write to us                                                                                                   Give Us a Call
   sales@quadranet.com
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